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                      Exhibit 5
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                                  STANDARDIZED FUND ACCOUNTING REPORT - Cash Basis
                               SEC v. Christopher Faulkner, et al.; Civil Court Docket No. 3:16-cv-1735-D
                                                Reporting Period 1/1/2018 - 3/31/2018



  FUND ACCOUNTING (See Instructions):
                                                                        Detail       Subtotal          Grand Total
  Line 1       Beginning Balance (As of 12/31/2017):                                              $       199,230.27
               Increases in Fund Balance:
  Line 2       Business Income                                                                    $          54,583.55
  Line 3       Cash and Securities
  Line 4       Interest/Dividend Income
  Line 5       Business Asset Liquidation
  Line 6       Personal Asset Liquidation
  Line 7       Third-Party Litigation Income
  Line 8       Miscellaneous - Other (Excess w/d payments)                                        $         210,000.00
                 Total Funds Available (Lines 1 – 8):                                             $         463,813.82
               Decreases in Fund Balance:
  Line 9       Disbursements to Investors
  Line 10      Disbursements for Receivership Operations
       Line 10aDisbursements to Receiver or Other Professionals
       Line 10bBusiness Asset Expenses                                                            $         (16,664.61)
       Line 10cPersonal Asset Expenses
       Line 10dInvestment Expenses
       Line 10eThird-Party Litigation Expenses
                   1. Attorney Fees
                   2. Litigation Expenses
                 Total Third-Party Litigation Expenses
       Line 10f Tax Administrator Fees and Bonds
       Line 10gFederal and State Tax Payments
                 Total Disbursements for Receivership Operations
  Line 11      Disbursements for Distribution Expenses Paid by the Fund:
       Line 11a   Distribution Plan Development Expenses:
                    1. Fees:
                          Fund Administrator…………………...………………..
                          Independent Distribution Consultant (IDC)……………………………………...………….……..
                          Distribution Agent…………………...……………....…
                          Consultants…………………………....……………….
                          Legal Advisers……………………...…..………………
                          Tax Advisers………………………..………….…………
                    2. Administrative Expenses
                    3. Miscellaneous
                   Total Plan Development Expenses
       Line 11b    Distribution Plan Implementation Expenses:
                     1. Fees:
                          Fund Administrator…………………..…………..………
                          IDC……………………………………...…......…………
                          Distribution Agent……………………..….……………..
                          Consultants………………………………....……………
                          Legal Advisers………………………..……....…………
                          Tax Advisers…………………….………….……………
                     2. Administrative Expenses
                     3. Investor Identification:
                          Notice/Publishing Approved Plan……………...……..…..
                          Claimant Identification…………………….……...…….
                          Claims Processing………………………….………..……
                          Web Site Maintenance/Call Center……….……...……
                     4. Fund Administrator Bond
                     5. Miscellaneous
                     6. Federal Account for Investor Restitution
                     (FAIR) Reporting Expenses
                   Total Plan Implementation Expenses
                  Total Disbursements for Distribution Expenses Paid by the Fund                  $                -
  Line 12      Disbursements to Court/Other:
       Line 12a   Investment Expenses/Court Registry Investment
               System (CRIS) Fees
       Line 12b   Federal Tax Payments
                Total Disbursements to Court/Other:
                Total Funds Disbursed (Lines 9 – 11):                                              $        (16,664.61)
  Line 13      Ending Balance (As of 3/31/2018):                                                   $        447,149.21
  Line 14       Ending Balance of Fund – Net Assets:
       Line 14a    Cash & Cash Equivalents
       Line 14b    Investments
       Line 14c    Other Assets or Uncleared Funds
                 Total Ending Balance of Fund – Net Assets                                         $        447,149.21




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                                STANDARDIZED FUND ACCOUNTING REPORT - Cash Basis
                             SEC v. Christopher Faulkner, et al.; Civil Court Docket No. 3:16-cv-1735-D
                                              Reporting Period 1/1/2018 - 3/31/2018



  OTHER SUPPLEMENTAL INFORMATION:
                                                                           Detail            Subtotal          Grand Total
              Report of Items NOT To Be Paid by the Fund:
  Line 15      Disbursements for Plan Administration Expenses Not Paid by the Fund:
       Line 15a   Plan Development Expenses Not Paid by the Fund:
                    1. Fees:
                         Fund Administrator……………………...……………..
                         IDC………………………………………..……….……..
                         Distribution Agent……………………...…………....…
                         Consultants…………………………….……………….
                         Legal Advisers………………………….………………
                         Tax Advisers…………………………….…….…………
                   2. Administrative Expenses
                   3. Miscellaneous
                  Total Plan Development Expenses Not Paid by the Fund
       Line 15b   Plan Implementation Expenses Not Paid by the Fund:
                    1. Fees:
                         Fund Administrator…………………….………..………
                         IDC………………………………………........…………
                         Distribution Agent……………………….……………..
                         Consultants…………………………...…..……………
                         Legal Advisers…………………………..…...…………
                         Tax Advisers…………………….……...………………
                   2. Administrative Expenses
                   3. Investor Identification:
                         Notice/Publishing Approved Plan……………...……..…..
                         Claimant Identification…………………….……...…….
                         Claims Processing………………………….………..……
                         Web Site Maintenance/Call Center……….……...……
                   4. Fund Administrator Bond
                   5. Miscellaneous
                   6. FAIR Reporting Expenses
                 Total Plan Implementation Expenses Not Paid by the Fund
       Line 15c  Tax Administrator Fees & Bonds Not Paid by the Fund
                Total Disbursements for Plan Administration Expenses Not Paid by the Fund
  Line 16      Disbursements to Court/Other Not Paid by the Fund:
       Line 16a   Investment Expenses/CRIS Fees
       Line 16b   Federal Tax Payments
                Total Disbursements to Court/Other Not Paid by the Fund:
  Line 17     DC & State Tax Payments
  Line 18      No. of Claims:
       Line 18a   # of Claims Received This Reporting Period…..………………………………………………………
       Line 18b   # of Claims Received Since Inception of Fund…...…..…………………………………………
  Line 19      No. of Claimants/Investors:
       Line 19a   # of Claimants/Investors Paid This Reporting Period…..……..………………………………..
       Line 19b   # of Claimants/Investors Paid Since Inception of Fund.……….………………………………

                                                                  Receiver:


                                                                  By: __________________________________
                                                                                    (signature)

                                                                                        Thomas L. Taylor III
                                                                                         (printed name)

                                                                                            Receiver
                                                                                               (title)

                                                                  Date:         4/18/2018




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